 1   DENNIS J. HERRERA, City Attorney
     CHERYL ADAMS, State Bar #164194
 2   Chief Trial Deputy
     MARGARET W. BAUMGARTNER, State Bar #151762
 3   RENÉE L. ROSENBLIT, State Bar #304983
     KELLY COLLINS, State Bar #277988
 4   Deputy City Attorneys
     1390 Market Street, 6th Floor
 5   San Francisco, California 94102-5408
     Telephone:    (415) 554-3859 [Baumgartner]
 6   Telephone:    (415) 554-3853 [Rosenblit]
     Telephone:    (415) 554-3914 [Collins]
 7   Facsimile:    (415) 554-3837
     E-Mail:       margaret.baumgartner@sfcityatty.org
 8   E-Mail:       renee.rosenblit@sfcityatty.org
     E-Mail:       kelly.collins@sfcityatty.org
 9

10   Attorneys for Defendants
     MAUREEN D’AMICO, JOHN EVANS,
11   MICHAEL JOHNSON, CARLA LEE,
     ROBERT MCMILLAN and RONAN SHOULDICE
12

13
                                    UNITED STATES DISTRICT COURT
14
                                 NORTHERN DISTRICT OF CALIFORNIA
15
      JAMAL RASHID TRULOVE,                             Case No. 16-cv-00050-YGR
16
             Plaintiff,                                 DECLARATION OF MICHAEL JOHNSON IN
17                                                      SUPPORT OF DEFENDANTS’ MOTION FOR
             vs.                                        SUMMARY JUDGMENT
18
      THE CITY AND COUNTY OF SAN                        Hearing Date:          February 27, 2018
19    FRANCISCO, ET AL.,                                Time:                  2:00 p.m.
                                                        Place:                 Courtroom 1, 4th Floor
20           Defendants.                                                       1301 Clay Street
                                                                               Oakland, CA
21
                                                        Trial Date:            March 5, 2018
22

23

24
            I, Michael Johnson, declare as follows:
25
     1. I am a retired homicide inspector from the San Francisco Police Department. I, along with my
26
        partner Maureen D’Amico, investigated the July 2007 murder of Seu Kuka. I have personal
27
        knowledge of the facts contained herein, except for those facts stated on information and belief,
28
      Johnson Dec iso MSJ                                1                           n:\lit\li2016\160675\01238156.doc
      Case No. 16-cv-00050-YGR
 1      and as to those facts I believe them to be true. If called upon to testify, I could and would testify

 2      competently hereto.

 3   2. In July 2007, I was 5’9” and weighed about 170 lbs. I was 55 years old. When I responded to

 4      homicide scenes, even in the middle of the night, I always wore a suit. I carried my star in my coat

 5      pocket, not around my neck. I do not believe that the word “scruffy” would apply to me.

 6   3. On the night of the murder I did not walk through Ingleside Station with a clipboard. I did not

 7      walk through Ingleside Station with Officer Carla Lee. When I walked through Ingleside Station

 8      with the homicide witness Priscilla Lualemaga, I did not say the word “Trulove” or otherwise

 9      suggest to the witness the name of a person who might be involved in the Kuka murder. The only

10      time that I remember walking through the station with Ms. Lualemaga, I was with Inspector

11      D’Amico.

12   4. Until I learned about the statement made by Oliver Barcenas, I never heard that on the night of the

13      murder that anyone had questioned Ms. Lualemaga about a person named Trulove, or that she

14      denied knowing the name Trulove. She never informed me of any interaction with any other plain-

15      clothes police officer. I believed that when she picked Jamal Trulove out of the photo lineup, she

16      did so honestly and competently. I certainly never engaged in any identification process that I

17      believed could be abusive or coercive or lead to a false identification.

18   5. I do not believe that I misrepresented any of Ms. Lualemaga’s statements, but if I did, I did not do

19      so intentionally.

20   6. When I interviewed Latisha Meadows-Dickerson, I did not give her information about the Kuka

21      murder before I took her recorded statement. I had no intention of engaging in an identification

22      procedure that would lead to a false identification, nor do I believe that I engaged in any

23      identification procedure that was abusive or coercive. Ms. Meadows-Dickerson had identified

24      Jamal Trulove by name before I showed her the photo array. I believed Ms. Meadows-Dickerson

25      when she said that she saw Jamal Trulove shoot Seu Kuka. I do not believe that I ever

26      misrepresented Ms. Meadows-Dickerson’s statement, but if I did, I did not do so intentionally.

27

28
      Johnson Dec iso MSJ                                 2                            n:\lit\li2016\160675\01238156.doc
      Case No. 16-cv-00050-YGR
 1   7. I turned over to the District Attorney’s office all of my files, notes and documents related to this

 2      matter. I did not intentionally hide any information I thought could be pertinent to the

 3      investigation or prosecution of the Kuka murder.

 4   8. The crime scene log shows that I arrived at the homicide scene at 12:13 a.m. on the morning of

 5      July 24, 2007, and that I left at 12:53 a.m. That is consistent with my memory. Maureen D’Amico

 6      and I went directly the Ingleside Station from the homicide scene, which is less than a 10 minute

 7      drive. We were at Ingleside Station for approximately 60 to 90 minutes.

 8   9. I have seen a photograph of                . He did not match the description given by Ms.

 9      Lualemaga. He has much darker skin than Jamal Trulove and is about 5’10” tall, which is shorter

10      than Joshua Bradley, and his DMV photo indicates that he was 22 years old at the time of the

11      murder.

12   10. Attached hereto as Exhibit A is the audio recording of my interview with David Trulove on

13      August 9, 2007 and Exhibit B is a transcript of that interview. In it, David Trulove denies having

14      been present in the Sunnydale at the time of the Seu Kuka murder, and did not know the name of

15      the shooter, simply saying he had heard it was a black guy who came around the corner and started

16      shooting.

17   11. I never entered into any agreement, express or implied, to violate the constitutional rights of any

18      suspect in this case, including Jamal Trulove. I certainly never intended to enter into any such

19      agreement.

20          I declare under penalty of perjury under the laws of the State of California that the preceding

21   declaration is true and correct.

22          Dated: January __, 2018 in San Francisco, California.

23

24

25
                                                   MICHAEL JOHNSON
26

27

28
      Johnson Dec iso MSJ                                  3                           n:\lit\li2016\160675\01238156.doc
      Case No. 16-cv-00050-YGR
 1                                      ATTESTATION LANGUAGE

 2

 3
            I hereby attest that I have on file all holographic signatures corresponding to any signatures
 4
     indicated by a conformed signature (/S/) within this e-filed document.
 5

 6

 7
                                                   /s/ Margaret W. Baumgartner
 8                                                MARGARET W. BAUMGARTNER
 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28
      Johnson Dec iso MSJ                                 4                           n:\lit\li2016\160675\01238156.doc
      Case No. 16-cv-00050-YGR
